     Case:13-03880-MCF13 Doc#:51 Filed:12/15/17 Entered:12/15/17 08:34:19   Desc: Main
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 1                     IN THE UNITED STATES BANKRUPTCY COURT FOR
                              THE DISTRICT OF PUERTO RICO
 2

 3     IN RE:
 4                                           CASE NO. 13-03880 MCF
 5     EDDIE    BAEZ FLORES                  Chapter 13
 6     GLADYS    ALGARIN RAMIREZ
 7

 8     XXX-XX-7072
 9     XXX-XX-4441
10                                                FILED & ENTERED ON 12/15/2017
11                   Debtor(s)
12

13                                        ORDER
14
            Debtors’ reply to Trustee's motion requesting entry of Order to
15
      compel (docket #50) is Noted.
16
            IT IS SO ORDERED.
17
            San Juan, Puerto Rico, this 15 day of December, 2017.
18

19

20
                                                       Mildred Caban Flores
21                                                     U.S. Bankruptcy Judge
22
      C:    DEBTOR(S)
23          ROBERTO FIGUEROA CARRASQUILLO
            JOSE RAMON CARRION MORALES
24

25
